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                                    STATEMENT OF FACTS

        Your affiant, Special Agent Jason Bujold with the Federal Bureau of Investigation (“FBI”),
is assigned to Joint Terrorism Task Force (JTTF) in the Minneapolis Division in Minnesota. In my
duties as a Special Agent, I investigate criminal violations related to domestic terrorism. Currently,
I am tasked with investigating criminal activity in and around the Capitol grounds on January 6,
2021. As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detection, investigation, or prosecution of violations of Federal criminal
laws.

                       Background – The U.S. Capitol on January 6, 2021

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

       On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the U.S. House of Representatives and the U.S. Senate were meeting in separate
chambers of the U.S. Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the House and the Senate,
including the President of the Senate, Vice President Mike Pence, were instructed to—and did—
evacuate the chambers. Accordingly, the joint session of the U.S. Congress was effectively
suspended until shortly after 8:00 p.m. Vice President Pence remained in the U.S. Capitol from
the time he was evacuated from the Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                           Facts Specific to Jack Mitchell JOHNSON

                     Identification of Device Located on US Capitol Grounds

        Subsequent to the events that occurred on January 6, 2021, a search warrant for records in
the possession of Google was issued in the United States District Court for the District of Columbia
by FBI Washington Field Office. The search warrant requested information for devices found
within a specific restricted geographic area, namely within the United States Capitol Building,
address First St SE, Washington D.C. 20004, between 2:00 p.m. and 6:30 p.m. EST on 6 January
2021. Pursuant to this Search Warrant and further legal process, Google produced account
information for device ID 1155948719 as being located inside the geographic search parameters.
The device locations were visually mapped and show this device appeared in several locations
inside the restricted perimeter and inside the US Capitol building; including but not limited to, the
east side of the U.S. Capitol building near the Rotunda Doors and in the Rotunda. The radius (or
accuracy) of geolocation data points located inside the U.S. Capitol building ranged from
approximately 12-34 meters. Therefore, it is likely device ID 1155948719, associated with Jack
Mitchell Johnson, was in and around the US Capitol building from 2:12 p.m. until 3:45 p.m.
Further legal process to Google for information related to device ID 1155948719 listed email
w***@gmail.com, recovery email thejack******@gmail.com, verification telephone number
ending in 6329, and subscriber name “Jack Johnson” 1.

       Based on the aforementioned information regarding device ID 1155948719, in
approximately May 2021, FBI Washington Field Office provided a lead to the FBI Minneapolis
Field Office for further investigation of potential violations of federal law. FBI Minneapolis
conducted open source and FBI records checks of the above information and found the above email
addresses and Verizon telephone numbers ending in 6329 and 6330 to be associated with JACK
MITCHELL JOHNSON, who also had associated addresses with North Dakota and Minnesota.
JOHNSON was further identified using legal process with Verizon. According to the records
provided by Verizon, telephone number ending in 6329 was registered to JACK JOHNSON and
telephone number ending in 6330 was registered to Riley Johnson, whom your affiant believes is
JACK JOHNSON’s brother. The records also showed an address in Detroit Lakes 2, Minnesota,
and the account also connected to Mitchell Johnson 3, who your affiant believes is the father of
both JACK JOHNSON and Riley Johnson.
1
  The full email addresses and phone numbers are known to the affiant but omitted here due to the
public nature of the filing.
2
  Open-source information of the address in Detroit Lakes, Minnesota, is connected to Mitchell R.
Johnson.
3
  Your affiant located a website showing Mitchell R. Johnson as a Colonel with the North Dakota
Air           National           Guard.                    https://www.119wg.ang.af.mil/About-
Us/Biographies/Display/Article/1616909/mitchell-r-johnson/ . An FBI employee with the
Minneapolis Field Office was personally familiar with Colonel Mitchell R. Johnson and knew
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                          JOHNSON Travels to Washington D.C. area

        Your affiant knows JOHNSON traveled to the Washington D.C., area prior to January 6,
2021. Your affiant reviewed records provided by American Airlines which revealed that JACK
JOHNSON traveled from Bismarck, North Dakota on January 5, 2021, connecting through Boston
and arriving at Reagan National Airport on January 5, 2021, one day prior to January 6, 2021. The
records show JOHNSON returned to Bismarck, North Dakota on January 7, 2021, connecting
through Dallas-Fort Worth.

        Your affiant also knows that JACK JOHNSON and Riley Johnson were in contact in the
Washington DC area on January 5 and January 6, 2021. Toll records/call history obtained through
legal process from Verizon show the number ending in 6329, registered to JACK JOHNSON, and
the number ending in 6330, registered to Riley Johnson, made several calls between each other.
The origination location of the calls for number ending in 6329 is listed as Washington D.C. In
the days prior to and immediately after JOHNSON’s travel to Washington D.C., call origination
locations show towns located in North Dakota, including Bismarck.

 JOHNSON Located On Restricted Grounds via Open-Source Photographs and Video Footage

        Your affiant located photographs and video footage of JOHNSON in Washington D.C.,
including the Washington monument and the U.S. Capitol. JOHNSON can be seen wearing a red
Make America Great hate, jeans, a brown coat, brown shoes, a gray collared shirt, and a
scarf/neckerchief. For example, JOHNSON can be seen in open source video, participating in
demonstrations, including chanting. The Washington Monument can be observed in the
background of the video. Figure 1 is a photo that depicts the same area as the open source video.
Those around JOHNSON can been seen holding an “America First” flag. American First is also
known as a Groyper 4 or part of the Groyper army.




Colonel Mitchell R. Johnson to have two sons, JACK and Riley. During an interview with
JOHNSON at border crossing, JOHNSON stated his father is a Colonel in the Air Force.
4
  According to the Anti-Defamation League, “Groypers are a loose network of alt right figures
who are vocal supporters of white supremacist and “America First” podcaster Nick Fuentes.”
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                              Figure 1 - JOHNSON by Washington Monument

        Your affiant is aware that many of those arrested in connection with entering the U.S.
Capitol on January 6, 2021, were present at a rally at the Washington Monument prior to walking
to the U.S. Capitol.

       JOHNSON can be located in other open-source video footage directly outside the U.S.
Capitol; including near a bike rack. See Figure 2 a screengrab from the video. Your affiant, based
on review of the background of the video, believes the bike rack is located near the Northeast
corner near the Capitol.
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                                   Figure 2 - JOHNSON by Bike Rack

        Additionally, JOHNSON can also be located in open-source video footage outside the
Capitol on the east side near the large stairs. In the video, the group, which includes JOHNSON,
can be seen walking toward the East Stairs together. In Figure 3, a screengrab from the video,
JOHNSON is circled in green. Your affiant, based on comparisons of known photographs,
believes the person circled in yellow is JOHNSON’s brother, Riley Johnson. Riley is holding a
blue flag.
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                           Figure 3 - JOHNSON on East Side of Capitol with Riley

        The above locations of open-source video footage correspond with JOHNSON’s Google
geofence locations referenced above. The location data shows JOHNSON located on the north
end of the U.S. Capitol before moving east near the steps leading up to the Rotunda stairs. The
timeline and movement of the location data indicates JOHNSON entered the U.S. Capitol on the
east side. Your affiant was able to corroborate the location data by locating JOHNSON in open-
source video footage next the East Rotunda door as the door was breached (see Figure 4).
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                                Figure 4 - JOHNSON Near East Rotunda Door

                                  JOHNSON Enters U.S. Capitol
        According to closed circuit video footage (CCTV) from inside the Capitol building from
the U.S. Capitol Police on January 6, 2021, a man in a red hat and brown jacket matching the
individual in Figure(s) 1 and 2 and believed to be JOHNSON entered the Capitol at approximately
2:41 p.m. EST through the East Rotunda Door, as depicted in Figure 5 in the green circle. During
the video, JOHNSON is trying to get through the door as a U.S. Capitol Police Officer appears to
be trying to close the door.




                      Figure 5 - JOHNSON Enters U.S. Capitol Through East Rotunda Door
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        Following his entry into the Capitol through the East Rotunda Door, JOHNSON moves to
the side of the door and looks up. JOHNSON is wearing the same yellow/white scarf, brown
jacket, and red hat as seen in open-source footage above.




                               Figure 6 - JOHNSON Looks Up at Camera

       A different Capitol CCTV camera near the East Rotunda Door picks up JOHNSON
beginning to use his cellphone near a wall at approximately 2:41 p.m. JOHNSON then exits the
East Rotunda area and proceeds into the Rotunda. See Figures 8 and 9.




                              Figure 7 and Figure 8 - JOHNSON on Phone
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        JOHNSON appears on camera in the Rotunda at approximately 2:42 p.m. JOHNSON’s
first geolocation ping inside the Capitol is located in the center of the Rotunda. The ping is
timestamped as 2:42 p.m. and is a 30-meter radius ping. A second geolocation ping is located in
the Rotunda. This ping timestamp is 2:44 Pp.m.and is a 20-meter radius ping.

       After entering the Rotunda, JOHNSON can be seen taking video or pictures on his
cellphone. See Figure 9.




                                Figure 9 - JOHNSON in Rotunda on Phone

       At approximately 2:45 p.m., JOHNSON exits the Rotunda through the north door and can
no longer be located on Capitol CCTV footage. There are five additional geolocation pings just
outside the Rotunda area but within the Capitol building. The timestamps range from 2:45 to 2:48
p.m. with radiuses of 14-26 meters.

        At approximately 2:50 p.m., JOHNSON can be seen on Capitol CCTV re-entering the
Rotunda area from the north door; however, JOHNSON now has a blue flag in his possession.
Your affiant believes JOHNSON received that flag from his brother, Riley Johnson, based on the
above snapshot, Figure 3, near the east stairs; however, your affiant has not been able to locate
Riley Johnson entering the Capitol. JOHNSON uses the flag to pose with a statute in the Rotunda
as seen in Figure 10.
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                              Figure 10 - JOHNSON with Blue Flag near Statues

       Finally, JOHNSON can be seen on Capitol CCTV leaving the Rotunda area at
approximately 2:51 p.m. and leaving the Capitol building through the East Rotunda door at
approximately 2:51 p.m. The blue flag remains in JOHNSON’s possession when he leaves the
Capitol as seen in Figure 11.




                                 Figure 10 - JOHNSON Exits with Blue Flag



       JOHNSON’s exit from the Capitol building aligns with geolocation pings. The first ping
outside of the U.S. Capitol building following JOHNSON’s exit from the U.S. Capitol is
timestamped as 2:53 p.m. and is a 12-meter radius ping. The ping is also located on the east side
of the U.S. Capitol building, which corresponds with where JOHNSON exited the U.S. Capitol
according to U.S. Capitol CCTV footage.

                               JOHNSON Identified by Associate
     In April 2022, an agent with the FBI interviewed JOHNSON’s former girlfriend.
JOHNSON’s former girlfriend was shown unlabeled photographs (photographs above of
JOHNSON near the bike rack and JOHNSON near the Washington Monument – Figures 1 and 2)
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of JOHNSON outside the U.S. Capitol. JOHNSON’s former girlfriend identified the person as
JOHNSON. The interviewee also said JOHNSON had posted pictures inside the U.S. Capitol “by
the statues” to Snapchat but had deleted them.

                                             Charges
        Based on the foregoing, your affiant submits that there is probable cause to believe that
JACK MITCHELL JOHNSON violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime
to (1) knowingly enter or remain in any restricted building or grounds without lawful authority to
do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions. For purposes of Section
1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted
area of a building or grounds where the President or other person protected by the Secret Service,
including the Vice President, is or will be temporarily visiting; or any building or grounds so
restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that JACK MITCHELL
JOHNSON violated 40 U.S.C. § 5104(e)(2)(D), and (G), which makes it a crime to willfully and
knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol
Buildings.




                                                                                     Jason Bujold
                                                                   Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 30th day of August 2023.
                                                                         Zia M.
                                                                         Faruqui
                                                     ___________________________________
                                                                                Zia M. Faruqui
                                                                     U.S. MAGISTRATE JUDGE
